        Case 3:19-cv-00175-SRW Document 34 Filed 04/04/19 Page 1 of 5



                 IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              EASTERN DIVISION

GREGORY JACK ALMOND, et al.,                     )
                                                 )
       Plaintiffs,                               )
                                                 )
v.                                               ) CASE NO. 3:19cv175-SRW
                                                 )
                                                 )
RANDOLPH COUNTY, ALABAMA, et al.,                )
                                                 )
       Defendants.                               )

                                             ORDER

       Defendants Randolph County, Randolph County Commission, Cofield, Clark,

Sheppard, Strain, (Jimmy) Johnson, (Greg) Johnson, Dot, McDaniel, and Morrow1 have

filed a motion to stay this case pursuant to Heck v. Humphrey, 512 U.S. 477 (1994). Upon

consideration, it is hereby

       ORDERED that plaintiffs shall respond on or before April 12, 2019.

       Additionally, the parties are hereby reminded that each has the right to consent or

request reassignment. See Doc. 4. The parties should now make their selection in writing

to consent or request reassignment. See Rembert v. Apfel, 213 F.3d 1331 (11th Cir. 2000);

Fed. R. Civ. P. 73(b)(2) (the parties are free to withhold consent without fear of adverse

substantive consequences). Accordingly, counsel are

       DIRECTED to complete the appropriate attached form so that the form is received



1
 Counsel has not appeared for defendants Lane (added by amendment on April 3, 2019, see Doc.
20), Moore, or Walker.
        Case 3:19-cv-00175-SRW Document 34 Filed 04/04/19 Page 2 of 5



by the Clerk on or before April 10, 2019.

      Note:       CONSENT       FORMS         MAY      NOW       BE     SUBMITTED

ELECTRONICALLY. If a party elects to complete the consent form, counsel may log

into the Case Management/Electronic Case File (CM/ECF) system, select the

Magistrate Judge Consent Form event, and electronically prepare and submit the

form. In the alternative, counsel may complete the attached consent form and mail it

to the Clerk of the Court. Do NOT electronically file the consent form into the record.

If you have any questions about electronic consent submission, please contact the

Clerk's Office.

      If a party elects to complete the form requesting reassignment to a district

judge, counsel must complete the attached form and mail it to the Clerk’s Office.

There is no option to log into CM/ECF and electronically submit the reassignment

form. Do NOT electronically file the reassignment form into the record.

      Done, on this the 4th day of April, 2019.

                                                     /s/ Susan Russ Walker
                                                     Susan Russ Walker
                                                     United States Magistrate Judge
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                 IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE MIDDLE DISTRICT OF ALABAMA

                          EXPLANATION OF ASSIGNMENT TO
                         UNITED STATES MAGISTRATE JUDGE

       This civil case has been randomly assigned to a United States Magistrate Judge of

this court. In accordance with 28 U.S.C. 636(c), the Magistrate Judges of this court are

designated to conduct any and all proceedings in a jury or non-jury civil case and order the

Entry of final judgment upon the consent of all parties to a case. Any appeal from a

judgment entered by a Magistrate Judge is taken directly to the United States Court of

Appeal for the Eleventh Circuit in the same manner as any appeal from any judgment

entered in this court.

       Any party to this lawsuit has the right to consent or decline consent to the

jurisdiction of a Magistrate Judge. To exercise your right to consent you should complete

the consent form and return it to the Clerk of the Court as indicated in the court’s order.

Litigants, without concern for any adverse consequences, freely may decline consent to the

jurisdiction of a Magistrate Judge. If you decline consent to the jurisdiction of a Magistrate

Judge, this case will be reassigned randomly to a District Judge.
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                 IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              EASTERN DIVISION

GREGORY JACK ALMOND, et al.,                      )
                                                  )
       Plaintiffs,                                )
                                                  )
v.                                                ) CASE NO. 3:19cv175-SRW
                                                  )
                                                  )
RANDOLPH COUNTY, ALABAMA, et al.,                 )
                                                  )
       Defendants.                                )

CONSENT TO JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

       In accordance with the provisions of Title 28, U.S.C. § 636(c), the undersigned party
or parties to the above-captioned civil matter hereby confirm in writing their consent to a
United States Magistrate Judge’s conducting any and all further proceedings in the case,
including trial, and ordering the entry of a final judgment.

_____________________               __________________________________________
    Date                            Signature

                                     __________________________________________
                                     Counsel For (print name of party or parties)

                                     __________________________________________
                                     Address, City, State, Zip Code

                                     __________________________________________
                                     Telephone Number


                                   Return form to:
 Debra Hackett, Clerk, United States District Court for the Middle District of Alabama,
                1 Church Street, B110; Montgomery, Alabama 36104

                                             OR

                     follow instructions in above order to complete online
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                IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             EASTERN DIVISION

GREGORY JACK ALMOND, et al.,                    )
                                                )
      Plaintiffs,                               )
                                                )
v.                                              ) CASE NO. 3:19cv175-SRW
                                                )
                                                )
RANDOLPH COUNTY, ALABAMA, et al.,               )
                                                )
      Defendants.                               )

                    REQUEST FOR REASSIGNMENT OF CASE
                    TO A UNITED STATES DISTRICT JUDGE

       The undersigned party has read the Notice of Assignment to United States
Magistrate Judge and hereby declines to consent to the Magistrate Judge’s exercise of civil
jurisdiction in this case. The undersigned party requests reassignment of this case to a
United States District Judge. The party understands that this request may not be revoked.


_____________________             __________________________________________
    Date                          Signature

                                  __________________________________________
                                  Counsel For (print name of party or parties)

                                  __________________________________________
                                  Address, City, State, Zip Code

                                  __________________________________________
                                  Telephone Number

                                   Return form to:
 Debra Hackett, Clerk, United States District Court for the Middle District of Alabama,
                1 Church Street, B110; Montgomery, Alabama 36104
